Case 15-10016      Doc 150     Filed 10/09/17     Entered 10/09/17 16:19:32      Page 1 of 1



                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF LOUISIANA

   IN RE:                                               CASE NO. 15-10016
                                                             SECTION "B"
   HESS, RYAN L


   DEBTOR(S)                                                   CHAPTER 7

                              TRUSTEE’S INTERIM REPORT

   1.      Action to be taken to conclude administration of estate:

           The adversary proceeding filed in this case has been settled and the settlement
           funds have been received. Trustee will review all claims and has retained an
           accountant to prepare all necessary tax returns. Once these items are completed
           trustee will file his final report.

   2.      Total funds deposited into the Trustee’s bank account:

           $41,848.06

   3.      Amount and nature of bond:

           Blanket Bond Coverage

   4.      Expected date of filing a Trustee’s Final Report:

           12/15/2017

   Date:    October 9, 2017

                                                Respectfully submitted,


                                                /s/Ronald J. Hof
                                                Ronald J. Hof
                                                Chapter 7 Trustee
                                                9905 Jefferson Hwy.
                                                River Ridge, Louisiana 70123
                                                Tel: 504-305-1591
